                                                           EXHIBIT B


             IN THE UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                       Case No. 1:22-cv-597

JENNIFER DUNBAR, President of the         )
Cabarrus Republican Women,                )
                                          )
       Plaintiff,                         )
                                          )     DECLARATION OF
v.                                        )   ELIZABETH MATTHEWS
                                          )
ADDUL RAHMAN EL ALI, individually )
and in his official capacity as Chairman )
of the Cabarrus County Republican         )
Party; JACK LAMBERT, individually         )
and in his official capacity as Vice      )
Chairman of the Cabarrus County           )
Republican Party; CLAY MAGUIRE,           )
individually and in his official capacity )
as Secretary of the Cabarrus County       )
Republican Party; BENITA CONRAD,          )
individually and in her official capacity )
as Treasurer of the Cabarrus County       )
Republican Party; SCOTT ELLIOTT,          )
individually and in his official capacity )
as Immediate Past Chairman of the         )
Cabarrus County Republican Party;         )
PARISH MOFFITT, individually and in )
his official capacity as Finance Chairman )
of the Cabarrus County Republican Party;)
KEVIN CRUTCHFIELD, individually           )
and in his official capacity as Member    )
of the Cabarrus County Republican         )
Party Executive Committee;                )
DARRIN GAMRADT, individually              )
and in his official capacity as Member    )
of the Cabarrus County Republican         )
Party Executive Committee;                )
ANITA BROWN, individually and in her )
official capacity as Member of the        )
Cabarrus County Republican Party          )




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Executive Committee; MARY INGRAM,      )
individually and in her official capacity
                                       )
as Member of the Cabarrus County       )
Republican Party Executive Committee;  )
BETTY LAPISH, individually and in her  )
official capacity as Member            )
of the Cabarrus County Republican      )
Party Executive Committee;             )
BRITT MCINTYRE, individually and       )
in her official capacity as Member of the
                                       )
Cabarrus County Republican Party       )
Executive Committee; JACOB ABEL,       )
individually and in his official capacity
                                       )
as Member of the Cabarrus County       )
Republican Party Executive Committee;  )
ROBERT FREEMAN, JR., individually      )
and in his official capacity as Member of
                                       )
the Cabarrus County Republican Party   )
Executive Committee; and the           )
CABARRUS COUNTY REPUBLICAN             )
PARTY,                                 )
                                       )
      Defendants.                      )
______________________________________ )

      Pursuant to 28 U.S.C. § 1746, Elizabeth Matthews hereby declares under

penalty of perjury as follows:


      1.    My name is Elizabeth Matthews, though I am often referred to as

Lisa. I am over the age of 18 and am suffering from no impairment or disability

that prevents me from making this declaration. I am competent to testify to

the facts stated herein, all of which are based on personal knowledge.

      2.    All of the below statements are true and accurate to the best of my

knowledge, information, and belief.

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      3.    I am personally familiar with both plaintiff Jennifer Dunbar and

defendant Addul Ali from my time living in Cabarrus County (February 2020

to February 2022).

      4.    During those years, I had the opportunity to personally observe

Jennifer Dunbar and her political volunteer work on countless occasions

because I was also involved in political advocacy in the area. Mrs. Dunbar is

tireless volunteer, has a tremendous work ethic, and gets along well with all

types of people, even if she may disagree with them. I never saw her do

anything that could reasonably be called “gross inefficiency.” To the contrary,

Mrs. Dunbar is an energetic and very efficient worker.

      5.    While I was living in Cabarrus County, I was on the Board of

Dogwood Classical Academy, a new charter school coming to the area. Because

the County had an interest in the same building that the school wanted to

acquire, my fellow Board members and I became involved in a dispute with the

local government over ownership rights to the facility.

      6.    Mr. Ali contacted me directly and threatened me over the charter

school dispute. He said I would “regret” going against the “Republican Party

leadership in the county” and that I had “no idea what could be done” to me

and my family. He further said he would personally make it difficult for me to

continue to live in the county.



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      7.       Mr. Ali then contacted anyone who would potentially assist me in

advocating for the school to stop them from coming to the school’s aid.

      8.       Mr. Ali would tell people that “Lisa don’t know how to do what

she’s told.”

      9.       I very much believe that Mr. Ali’s animus toward me was rooted in

the fact that I was a woman in a strong leadership position and that he

expected women to submit to whatever he told them to do. Because I would

not simply submit, he saw fit to threaten me and my family.

      Pursuant to 28 U.S.C. § 1746, I hereby declare under penalty of perjury

that the foregoing is true and correct.


      Executed on August 1st, 2022.


                                      /s/ Elizabeth Matthews
                                      Elizabeth Matthews




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